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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANGELO ARDO, et al.,                          :    CIVIL ACTION
                                              :
               Plaintiffs                     :
                                              :
                     v.                       :
                                              :
OFFICER EDDIE PAGAN, et al.,                  :
                                              :
               Defendants.                    :    No. 18-5217

            STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT
                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants Pennsylvania State Police (“PSP”), Trooper Eddie Pagan, and Trooper Jay

Splain, (collectively, “Defendants”), submit the following statement of undisputed material facts

in support of their Motion for Summary Judgment:

BACKGROUND AND PROCEDURAL HISTORY

       1.      On December 4, 2018, Plaintiffs filed a Complaint initiating this action, bringing

a wrongful death and survival action claim (Count I) and excessive force/assault and battery

claim (Count II) against Defendant Troopers Pagan and Splain. (ECF No. 1.)

       2.      The lawsuit relates to an encounter on May 20, 2017, between Anthony Ardo and

Troopers Pagan and Splain, during which Anthony Ardo was killed in an officer-involved

shooting. See Am. Compl. (ECF No. 30) ¶¶ 9-29

       3.      Plaintiffs Angelo Ardo and Jean Monaghan are the parents of Anthony Ardo, who

is deceased. See Am. Compl. ¶¶ 3-4.

       4.      Plaintiffs are also the beneficiaries of Anthony Ardo’s estate, and Monaghan is

the administrator of that estate. See Am. Compl. ¶ 5.

       5.      Plaintiffs bring suit in their individual capacity, and Monaghan also as

administrator of Anthony Ardo’s estate. See Am. Compl.
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       6.      On February 25, 2018, Defendants Pagan and Splain filed their Answer to the

Complaint. (ECF No. 9.)

       7.      On August 22, 2019, Trooper Pagan was deposed by Plaintiffs’ counsel during the

course of discovery for the instant matter. See Dep. Tr. of Eddie Pagan, August 22, 2019,

attached hereto as Exhibit 1.

       8.      On August 23, 2019, Trooper Splain was deposed by Plaintiffs’ counsel during

the course of discovery for the instant matter. See Dep. Tr. of Jay Splain, August 23, 2019,

attached hereto as Exhibit 2.

       9.      On September 17, 2019, plaintiff Jean Monaghan was deposed by defense counsel

during the course of discovery for the instant matter. See Dep. Tr. of Jean Monaghan, September

17, 2019, attached hereto as Exhibit 3.

       10.     On October 10, 2019, the eve of close of discovery, Plaintiffs filed a Motion for

Leave to File a First Amended Complaint, seeking to amend their complaint to add a claim for

violation of the Americans with Disabilities Act (“ADA”) against the Commonwealth of

Pennsylvania. (ECF No. 20.)

       11.     Defendants filed a response in opposition to Plaintiffs’ Motion for Leave to File a

First Amended Complaint. (ECF No. 24.)

       12.     Following a hearing on the matter, the Court granted Plaintiff’s Motion for Leave

to File a First Amended Complaint (ECF No. 29), and, on January 17, 2020, Plaintiffs’ filed the

Second Amended Complaint with a claim under the ADA against the Pennsylvania State Police

(“PSP”) (ECF No. 33).

       13.     On May 19, 2021, Plaintiffs deposed Sergeant Tyler Burgess and Corporal Kevin

Selverian as witnesses for PSP under Federal Rules of Civil Procedure Rule 30(b)(6). See Dep.
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Tr. of Tyler Burgess, May 19, 2021, attached hereto as Exhibit 4, and Dep. Tr. of Kevin

Selverian, May 19, 2021, attached hereto as Exhibit 5.

       14.     During the course of the investigation into Ardo’s death, Jean Monaghan gave a

videotaped interview to investigators from PSP’s Criminal Investigation Unit on May 20, 2017.

See Tr. of PSP Interview of Jean Monaghan, May 20, 2017 (hereafter, “Monaghan Interview”),

attached hereto as Exhibit 6.

       15.     During the course of the investigation into Ardo’s death, Trooper Splain gave a

videotaped interview to investigators from PSP’s Criminal Investigation Unit on June 16, 2017.

See Tr. of PSP Interview of Jay Splain, June 16, 2017 (hereafter, “Splain Interview”), attached

hereto as Exhibit 7.

       16.     During the course of the investigation into Ardo’s death Trooper Pagan gave a

videotaped interview to investigators from PSP’s Criminal Investigation Unit on June 20, 2017.

See Tr. of PSP Interview of Eddie Pagan, June 20, 2017 (hereafter, “Pagan Interview”), attached

hereto as Exhibit 8.

                                THE INCIDENT OF MAY 20, 2017

       17.     On May 20, 2017 at approximately 7:55 a.m., Monaghan called 9-1-1 and spoke

to PSP Police Communications Officer (“PCO”) Leonard Behler at PSP Belfast barracks. See Tr.

of Behler Call, May 20, 2017 at 07:55:41 (hereafter, “Behler Call 1”), attached hereto as Exhibit

9.

       18.     During the call, Monaghan informed PCO Behler that her son, Anthony Ardo

(hereafter, “Ardo”), had texted his father with suicidal threats, and that he had come to her house

at 5:00 a.m. that morning in violation of a Protection From Abuse (“PFA”) order she had against

him. See Behler Call 1 Tr., Ex. 9, at 2-3.
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        19.     Monaghan had obtained a PFA against Ardo because Ardo, who had been

working for her, was angry that she did not pay him enough and had threatened to kick her out of

her house, get a PFA against her, and rob her. See Monaghan Interview Tr., Ex. 6, at 5-6.

        20.     Monaghan told PCO Behler on the call that she wanted the police to “pick him up

and put him [in] the hospital” and hoped that they could “tap into his cell phone.” See Behler

Call 1 Tr., Ex. 9, at 4.

        21.     PCO Behler informed Monaghan that the police could not track Ardo’s cell phone

and that they could not “pick him up” when they did not know where he was. See Behler Call 1

Tr., Ex. 9, at 4.

        22.     During this call, Tpr. Splain was sitting next to PCO Behler in the

communications room at the PSP Belfast barracks and he heard PCO Behler’s side of the

conversation, and also received a summary of the call from PCO Behler after it ended. See Splain

Interview Tr., Ex. 7, at 2-3.

        23.     At approximately 8:22 a.m., Monaghan called back and once again spoke to PCO

Behler. See Tr. of Behler Call, May 20, 2017 at 08:22:10 (hereafter, “Behler Call 2”), attached

hereto as Exhibit 10.

        24.     During this second call, Monaghan told PCO Behler that the suicide prevention

hotline had advised her that she could have him involuntarily committed, and that she wanted the

police to try to find Ardo and commit him. See Behler Call 2 Tr., Ex. 11, at 1-2.

        25.     During this second call, Tpr. Splain was still sitting next to PCO Behler and he

heard PCO Behler’s side of the conversation, and also received a summary of the call from him

after it ended. See Splain Interview Tr., Ex. 7, at 3.
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        26.    At approximately 8:24 a.m., PCO Behler called Ardo’s cellular phone and spoke

to him. See Tr. of Behler Call, May 20, 2017 at 08:24:40 (hereafter, “Behler Call 3”), attached

hereto as Exhibit 11.

        27.    During this call, Ardo was upset with his mother for throwing him out of the

house, and said: “Tell my mother when she sees a bunch of smoke coming up off the mountain,

she knows I’m fuckin dead.” See Behler Call 3 Tr., Ex. 11, at 2.

        28.    Ardo also told PCO Behler “I’ll tape a fuckin quarter stick around my neck and

blow my fucking head off, before you even guys get to me.” See id.

        29.    PCO Behler told Ardo multiple times that he was just checking on his safety and

asked Ardo where he was located, but Ardo responded, “[y]eah, so you can pick me up and

fucking 302 me! Good luck. Try to find me before I blow my fucking head off! Don’t call me no

more.” See id. at 3.

        30.    During this call with Ardo, Tpr. Splain was still sitting next to PCO Behler and

received a summary of the call from PCO Behler after it ended. See Splain Interview Tr., Ex. 7,

at 4.

        31.    PCO Behler told Tpr. Splain that “Ardo said he was going to blow his head off, or

something, something to that effect….,” and that Ardo stated “when you see the smoke on the

mountain or when you see the fire on the mountain, you’ll know it’s done.” See id. at 4.

        32.    At approximately 8:37 a.m., PCO Behler called Tpr. Pagan to dispatch him to

Monaghan’s house. See Tr. of Behler Call, May 20, 2017 at 08:37:44 (hereafter, “Behler Call

4”), attached hereto as Exhibit 12.

        33.    During this call, PCO Behler told Tpr. Pagan that Ardo had threatened suicide and

his mother had a PFA against him, and that they could involuntarily commit him if he could be
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located. See Behler Call 4 Tr., Ex. 12, at 1. PCO Behler also told Tpr. Pagan that Tpr. Splain

would meet him at Monaghan’s house. See id.

         34.   Between 8:55 a.m. and 10:08 a.m., PCO Behler made several calls attempting to

ping Ardo’s cell phone, and dispatched Tpr. Nate Branosky to attempt to locate Ardo via his cell

phone, but the attempts were unsuccessful. See Tr. of Behler Calls, May 20, 2017 between 8:55

a.m. – 10:08 a.m. (“Behler Calls 5”), attached hereto as Exhibit 13.

         35.   At approximately 8:51 a.m., Tpr. Pagan arrived at Monaghan’s house and started

taking her statement. See Pagan Interview Tr., Ex. 8, at 5. See also Tr. of Belfast

Communications Room (hereafter, “Belfast Radio Tr.”), attached hereto as Exhibit 20, at 2

(“Radio Left 2017-05-20 08 51 11”).

         36.   Monaghan related to Tpr. Pagan that she had a PFA against Ardo and he had

violated the PFA by coming to her house that morning. See id. at 5-6.

         37.   At approximately 8:58 a.m., Tpr. Splain arrived at Monaghan’s house. See id. at

6. See also, Belfast Radio Tr., Ex. 20, at 2 (“Radio Left 2017-05-20 08 58 54”).

         38.   When Tpr. Splain arrived, he opened the blinds covering the window on the door

and positioned himself to watch out the window for Ardo while Tpr. Pagan finished his interview

with Monaghan. See Splain Interview Tr., Ex. 7, at 7.

         39.   While Tprs. Pagan and Splain were at Monaghan’s house, Ardo called his mother

and asked her for more money, which she initially refused. See Monaghan Interview Tr., Ex. 6,

at 15.

         40.   Tpr. Pagan or Splain suggested to Monaghan that she try to get Ardo to come to

the house so they could apprehend him, which she agreed to do by calling Ardo back and
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offering him some money. See Monaghan Interview Tr., Ex. 6, at 15; Monaghan Dep., Ex. 3,

28:11-19; Splain Interview Tr., Ex. 7, at 9; Pagan Interview Tr., Ex. 8, at 8.

       41.      At approximately 9:10 a.m., Tpr. Splain informed PCO Behler by radio that

Monaghan was going to call Ardo and “try to convince him to come back to the house and then

we’re gonna hide in the house and see if we can grab him.” See Belfast Radio Tr., Ex. 20, at 2

(“Radio Left 2017-05-20 09 10 32”).

       42.      At approximately 9:18 a.m., Tpr. Splain informed PCO Behler by radio that Ardo

was on the way to Monaghan’s house. See Belfast Radio Tr., Ex. 20, at 3 (“Radio Left 2017-05-

20 09 18 19).

       43.      On that same radio transmission, PCO Behler informed Tpr. Splain that they had

received a location for Ardo via a ping of his cell phone. See id.

       44.      Tprs. Pagan and Splain had hoped that, by getting Ardo to come to Monaghan’s

house, they would be able to apprehend him to get him committed so that he would not hurt

himself and possibly arrest him for the PFA violation. See Splain Interview Tr., Ex. 7, at 12;

Pagan Interview Tr., Ex. 8, at 9.

       45.      Tprs. Pagan’s and Splain’s plan was to hide their presence and wait for Ardo to

enter the house to apprehend him, so that he would not harm himself or run away, causing

possible harm others. See Pagan Interview Tr., Ex. 8, at 9; Splain Dep., Ex. 1, 31:19-32:12.

       46.      While waiting for Ardo to arrive, Tprs. Pagan and Splain moved their patrol cars

to the back of the house, so that they would not be visible when Ardo drove up. See Splain

Interview Tr., Ex. 7, at 13; Pagan Interview Tr., Ex. 8, at 9.

       47.      The Troopers parked their cars back-to-back so that they could pull out of the

house on difference sides, if needed. See Splain Dep., Ex. 2, 30:13-18.
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       48.       At approximately 9:37 a.m., PCO Behler, at Tpr. Splain’s instruction, dispatched

Tpr. Nathan Branosky to patrol the area between the location of the cell phone ping and

Monaghan’s house to look for Ardo, and described his vehicle. See Belfast Radio Tr., Ex. 20, at

3 (“Radio Left 2017-05-20 09 37 28”).

       49.       On the same radio transmission, Tpr. Splain told Tpr. Branosky and PCO Behler,

“updated info: last phone call before he was heading here he said that he was going to have an

improvised explosive device strapped to his neck and he would light it if he saw any police

officers.” See Belfast Radio Tr., Ex. 20, at 3-4 (“Radio Left 2017-05-20 09 37 28”). See also

Splain Interview Tr., Ex. 7, at 15. See also Splain Interview Tr., Ex. 7, at 15.

       50.       At approximately 9:43 a.m., PCO Behler informed Tpr. Splain by radio that they

received a new cell phone ping location for Ardo and they discussed whether to reroute Tpr.

Branosky to the new location or the possibility of getting an officer from the City of Bethlehem

Police Department to go to the new location. See Belfast Radio Tr., Ex. 20, at 4 (“Radio Left

2017-05-20 09 43 02” and “Radio Left 2017-05-20 09 43 44”).

       51.       On the same radio transmission, Tpr. Splain told PCO Behler to make sure to

inform whoever is dispatched about the explosive device. See id.

       52.       At approximately 10:05 a.m., Tpr. Branosky informed PCO Behler by radio that

he had located someone meeting the description of Ardo, and PCO Behler asked if he saw “any

device or anything”. See Belfast Radio Tr., Ex. 20, at 5 (“Radio Left 2017-05-20 10 05 11”).

       53.       At approximately 10:07 a.m., Tpr. Pagan set a radio message that Ardo had

actually arrived at Monaghan’s house. See Belfast Radio Tr., Ex. 20, at 6 (“Radio Left 2017-05-

20 10 07 18”).
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       1.      Ardo had pulled up and stopped in front of Monaghan’s house. See Splain

Interview Tr., Ex. 7, at 18; Monaghan Interview Tr., Ex. 6, at 16.

       2.      At approximately 10:09 a.m., Tpr. Pagan sent another radio message that Ardo

was at Monaghan’s house, sitting in his car, and that “I think he might be trying to get away.”

See Belfast Radio Tr., Ex. 20, at 6 (“Radio Left 2017-05-20 10 09 39).

       3.      When Ardo arrived, Tprs. Pagan and Splain waited inside the house for Ardo to

enter, but when he did not exit his vehicle, the Tprs. decided to get in their patrol cars to pursue

Ardo. See Splain Interview Tr., Ex. 7, at 20-21; Pagan Interview Tr., Ex. 8, at 13-16.

       4.      Although Tpr. Splain was concerned that pursuit would place himself within

range of the explosive, his greater concern was keeping the explosive contained to the rural area

around the residence and away from the more populated town of Bangor close by, to reduce the

likelihood of civilian casualties. See Splain Dep., Ex. 2, 31:19-32:12.

       5.      At approximately 10:10 a.m., Troopers Pagan and Splain were in their patrol

vehicles and Tpr. Pagan sent a radio message asking Splain to try to block him off and stated:

“He’s moving towards my way. I’m gonna jump in the road.” See Belfast Radio Tr., Ex. 20, at 6

(“Radio Left 2017-05-20 10 10 01” and “Radio Left 2017-05-20 10 10 17”).

       6.      Tpr. Pagan stopped his car a short distance in front of Ardo’s vehicle, about head-

on. See Pagan Dep., Ex. 1, 37:19-38:23; Pagan Interview Tr., Ex. 8, at 17; Splain Interview Tr.,

Ex. 7, at 21-22.

       7.      Tpr. Pagan drew his weapon because Ardo’s vehicle had been moving towards

him, and when Pagan got out, Ardo still had his car running, which posed a threat. See Splain

Dep., Ex. 1, 38:16-23.
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       8.        Tpr. Splain had stopped his patrol vehicle a short distance behind Ardo’s vehicle.

See Splain Interview Tr., Ex. 7, at 21-22.

       9.        Tpr. Splain also exited his vehicle, with his weapon drawn, and both gave

commands to Ardo to show his hands multiple times. See Monaghan PSP Interview Tr., at 16;

Splain Interview Tr., Ex. 7, at 23. See also Monaghan Dep., Ex. 3, 18:4-18:11; Pagan Dep., Ex.

1, 38:24-39:7.

       10.       Tpr. Pagan approached Ardo’s vehicle on the driver’s side with his weapon

pointed at a lower ready position—not at Ardo—repeating commands to show his hands, which

Ardo ignored, and instead, as Pagan reached a distance of 3-4 feet from Ardo, Ardo turned

towards Pagan with a maniacal smile, and lit up a lighter in his right hand and moved to light a

fuse attached to a device near his neck. See Pagan Dep., Ex. 1, 39:22-40:22.

       11.       At the same time, Tpr. Splain, who was towards the rear of Ardo’s vehicle, asked

Tpr. Pagan if Ardo had anything, meaning a bomb or other weapon, and Splain saw Pagan’s eyes

widen and Pagan yelled “yes!”, while Splain simultaneously saw a flame spark from Ardo’s

hand. See Splain Dep., Ex. 2, 23:11-23; 24:2-7; Pagan Dep., Ex. 1, 41:5-10. See also Splain

Interview Tr., Ex. 7, at 24.

       12.       At this point, Tpr. Pagan then fired two rounds towards Ardo through the door

while retreating away from the vehicle to possibly outrun the blast. See Pagan Dep., Ex. 1, 41:5-

10.

       13.       When Tpr. Pagan saw the fuse and device around Ardo’s neck, based on Ardo’s

prior threat that he would have a bomb around his neck, Pagan became fearful that the explosive

would put his life, Ardo’s life, Tpr. Splain’s life, and the surrounding property in danger.
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        14.     At the same time, Tpr. Splain fired six shots from his weapon and stopped when

Ardo leaned into the passenger seat, disappearing from Splain’s line of sight. See Splain Dep.,

Ex. 2, 24:12-24.

        15.     Tpr. Splain fired his weapon because, based on Pagan’s reaction and Ardo’s prior

threats of having a bomb around his neck, Splain believed that Ardo was trying to light up an

explosive device that would also harm Splain and Pagan. See Splain Interview Tr., Ex. 7, at 27.

        16.     Tpr. Splain fired multiple shots because his training and experience had taught

him that the initial shots fired through auto glass and/or automobile sheet metal will be deflected

and not hit the target, so multiple shots are needed to hit the intended target. See Splain Interview

Tr., Ex. 7, at 28.

        17.     After Ardo disappeared from Tpr. Splain’s line of sight, Splain began to approach

Ardo’s car to try to get a visual. See Splain Dep., Ex. 2, 24:12-24.

        18.     Just as Tpr. Splain began to approach Ardo’s vehicle, within 3-4 seconds of Tpr.

Splain ceasing his initial shots, Ardo sat back up. See Splain Dep., Ex. 2, 24:12-24. See also

Pagan Patrol Vehicle Mobile Video Recorder Stream 0 (hereafter, “Pagan MVR”), attached

hereto as Exhibit 14, at 00:02-00:06.

        19.     When Ardo sat back up, Tpr. Splain fired three more shots until he saw Ardo

slump down. See Splain Dep., Ex. 2, 24:12-25:7. See also Pagan Patrol Vehicle Mobile Video

Recorder Stream 0 (hereafter, “Pagan MVR”), attached hereto as Exhibit 14, at 00:05-00:08.

        20.     Tpr. Splain fired the additional shots because he perceived Ardo sitting back up as

aggressive, and an indication that he was not injured, which combined with Ardo still failing to

put his hands up or make any statements indicating that he was giving up, led Splain to believe

that Ardo still posed a threat of igniting the explosive. See Splain Dep., Ex. 2, 24:12-25:7.
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       21.       At approximately 10:11 a.m., Tpr. Pagan sent a radio message that shots had been

fired. See Belfast Radio Tr., Ex. 20, at 6 (“Radio Left 2017-05-20 10:11:02”).

       22.       Less than one minute later, Tpr. Pagan sends another radio message stating “you

need to get EMS expedited. . . . He needs help.” See Belfast Radio Tr., Ex. 20, at 6 (“Radio Left

2017-05-20 10 11 52”).

       23.       After Tpr. Splain approached the driver side and removed Ardo from the vehicle

and the two Troopers administer first aid. See Splain Interview Tr., Ex. 7, at 30-31. See also

Pagan MVR.

       24.       Right before Tprs. Pagan and Splain left the house to go to their vehicles, Ardo

called Monaghan’s phone. See Splain Interview Tr., Ex. 7, at 21.

       25.       On this phone call with Monaghan, Ardo told Monaghan that he would not come

inside, insisting that Monaghan go outside; and he again made a threat of an explosive, stating

“don’t fuck with me mom . . . I see a police officer and I’m just gonna ignite this thing,” before

hanging up on her. See Monaghan PSP Interview Tr., Ex. 6, at 16. See also Monaghan Dep., Ex.

3, 13:2-13:24.

       26.       Monaghan heard Tprs. Pagan and Splain order Ardo to show his hands before she

then heard “exploding” sounds. See Monaghan PSP Interview Tr., Ex. 6, at 16.

       27.       On the day of the incident, Monaghan believed that the “exploding” sounds she

heard were from Ardo igniting whatever device he had said he had around his neck. See

Monaghan Interview Tr., Ex. 6, at 16-17. See also Monaghan Dep., Ex. 3, 17:15-18:3.

       28.       During the interaction between Tprs. Pagan and Splain, Monaghan was looking

out of the window and could see Ardo’s car, and the positions of the Troopers, but she could not

see into Ardo’s car. See Monaghan Dep., Ex. 2, 27:4-9; Monaghan Interview Tr., Ex. 6, at 16.
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       29.     After Tpr. Splain removed Ardo from the vehicle, Splain observed a device with a

fuse attached in or around the collar of Ardo’s shirt. See Splain Dep., Ex. 2, 21:15-22:22. See

also Pagan MVR at 00:43-00:49.

       30.     Before this incident, neither Tpr. Pagan nor Tpr. Splain had any prior interactions

with Ardo or Monaghan, and neither had heard any prior information about Ardo or Monaghan.

See Splain Interview Tr., Ex. 7, at 5-6; Pagan Interview Tr., Ex. 6, at 5.

       31.     The device around Ardo’s neck was later identified as a 1.5” aerial mortar by Cpl.

Michael Sponchiado of PSP Hazardous Device and Explosives Section. See Sponchiado

Hazardous Device & Explosives Section Report, September 12, 2017, attached hereto as Exhibit

21. See also, Crime Scene Image DSC_3395, attached hereto as Exhibit 22.

       32.     A BIC lighter was later recovered from the front passenger floor by Tpr. John

McGranahan, PSP Forensic Services. See McGranahan Forensic Services Narrative, May 25,

2017, attached hereto as Exhibit 23, at DEF0000105.

                         FACTS RELATING TO THE ADA CLAIM

       33.     In 2014, PSP responded to 3909 incidents coded as “Mental Health Act,” meaning

incidents involving involuntary mental health commitments under Section 302 of the Mental

Health Act, and other incidents involving a mental health issue that do not necessarily involve a

crime. See Declaration of Patrick Brinkley, June 23, 2021, attached hereto as Exhibit 17, at ¶¶ 8-

9. See also Mental Health and Shooting Data 2014-2016 (hereafter, “2014-2016 Data”), attached

hereto as Exhibit 18.

       34.     Also in 2014, PSP service members were involved in eight officer-involved

shootings, three of which were fatal, and two of those fatal incidents involved an individual
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about whom PSP appeared to have information of a mental health issue. See 2014-2016 Data,

Ex. 18.

          35.   In 2015, PSP responded to 3728 “Mental Health Act” incidents. See Brinkley

Decl., Ex. 17, at ¶ 9. See also 2014-2016 Data, Ex. 18.

          36.   Also in 2015, PSP service members were involved in fourteen officer-involved

shootings, five of which were fatal, and three of those fatal incidents involved an individual

about whom PSP appeared to have information of a mental health issue. See 2014-2016 Data,

Ex. 18.

          37.   In 2016, PSP responded to 3862 “Mental Health Act” incidents. See Brinkley

Decl., Ex. 17, at ¶ 9. See also 2014-2016 Data, Ex. 18.

          38.   Also in 2016, PSP service members were involved in eleven officer-involved

shootings, five of which were fatal, and one of those fatal incidents involved an individual about

whom PSP appeared to have information of a mental health issue. See also 2014-2016 Data, Ex.

18.

          39.   In 2017, PSP responded to 2312 “Mental Health Act” incidents. See Brinkley

Decl., Ex. 17, at ¶ 9. See also 2017-2019 Data, Ex. 19.

          40.   Also in 2017, service members were involved in thirteen officer-involved

shootings, seven of which were fatal, and two of those fatal incidents involved an individual

about whom PSP appeared to have information of a mental health issue. See 2017-2019 Data,

Ex. 19.

          41.   PSP has had a written Use of Force Policy in place since some time before 2000.

See Burgess Dep., 10:24-11:8.
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        42.      The Bureau of Training and Education, the Bureau of Research and Development,

and PSP Office of Chief Counsel all play a primary role in the creation, development, adoption,

revision, and approval of the Use of Force Policy (with the Bureau of Training and Education

and the Office of Chief Counsel serving as co-process owners for the regulation). See PSP

Responses and Objections to Pl’s First Set of Interrogatories, attached hereto as Exhibit 15, at

Resp. 1.

        43.      The Use of Force Unit of the Bureau of Training and Education participates in

reviewing and revising the Use of Force Policy, in addition to developing and providing use of

force instruction to PSP cadets and active service members. See Selverian Dep., Ex. 5, 9:4-9:20.

See also Declaration of Kevin Selverian, June 28, 2021, attached hereto as Exhibit 16, at ¶ 2.

        44.      The Use of Force Policy applies to all segments of the population and discusses

the use of reasonable force, based upon the totality of the circumstances known to the officer at

the time of application of the force. See Selverian Dep., Ex. 5, 15:11-16:13; Selverian Decl., Ex.

16, at ¶¶ 3-4.

        45.      While the Use of Force Policy promotes a single standard of “objective

reasonableness” in relation to the proper application of force, members of the Bureau of Training

and Education provide particularized instruction to both cadets and active service members

regarding contacts with specific categories of persons with the communities they serve, including

training programs relative to emotional control strategies and interactions with persons

experiencing mental health concerns. See Selverian Dep., Ex. 5, 14:24-15:10, 25:24-26:19;

Selverian Decl., Ex. 16, at ¶¶ 5.
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       46.     A portion of training provided to cadets regarding emotional control, decision-

making, and interactions with those experiencing mental health concerns includes, but is not

limited to:

               a. 8 hours on Law Enforcement Active Diffusion Strategies (L.E.A.D.S) taught

                   by PSP instructors

               b. 4 hours on Identifying Signs and Symptoms of Mental Illness, taught by

                   personnel from the Pennsylvania Psychiatric Institute (Penn State University)

               c. 2 hours of classroom instruction on Autism Awareness, taught by personnel

                   from the Autism Services, Education, Resources, and Training Collaborative

               d. 2 hours on PA Mental Health Laws, taught by PSP Academy Criminal Law

                   Unit Instructors

               e. 16+ hours of Practical Application / Scenario-Based Training, which in part

                   involves the utilization of de-escalation strategies and/or a role player

                   suffering from a mental health emergency.

See Selverian Decl., Ex. 16, at ¶ 6.

       47.     The Bureau of Integrity and Professional Standards continues to collect data on

PSP service members’ applications of force via the Blue-Team system, and as per PSP Policy,

the PSP Risk Management Officer, on a bimonthly basis, conducts a query of data entries to

identify patterns or trends relating to use of force incidents which are outside of Department

norms. See Selverian Decl., Ex. 16, at ¶ 8.

       48.     The Bureau of Integrity and Professional Standards also frequently corresponds

with the Use of Force Unit to further identify use of force trends and provide any necessary
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corrective action through both the operational and basic training programs. See Selverian Decl.,

Ex. 16, at ¶ 9.

        49.       The Use of Force Unit also frequently relies upon numerous resources, to include

the United States Department of Justice, the International Association of Chiefs of Police, and

police practice and policy experts, to ensure its use of force training protocols are founded upon

legal and evidence-based principles. See id.

        50.       Based on an analysis of PSP use of force incidents, use of force training

curriculums were revised in the last few years to include additional hours of training in

communications and de-escalation strategies, deployment of conducted energy weapons,

response to mental health emergencies, and critical thinking and use of force decision making.

See Selverian Decl., Ex. 16, at ¶ 10.

        51.       Some of this additional training provided to active service members during

Mandatory In-Service Training (“MIST”) regarding emotional control, decision-making, and

interactions with those experiencing mental health concerns includes, but is not limited to:

                  a. MIST 2010: Patrol Response to Suicide Bombers

                  b. MIST 2012: Disability, Aggression, and the Assault Cycle

                  c. MIST 2013: Missing Endangered Persons Advisory System

                  d. MIST 2015: Response Enhancing Arousal Control Techniques (authored by
                     PSP Psychologist)

                  e. MIST 2016: Tactical Communication and Conflict Management

                  f. MIST 2016: Understanding and Effectively Engaging Individuals with
                     Traumatic Brain Injuries (authored by PSP Psychologist)

                  g. MIST 2017: Tactical Communication Review

                  h. MIST 2017: Ti® Use of Force Simulation Training and Use of Force Reaction
                     Training
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                       i. 3 hours of scenario-based training that involves the use of de-
                          escalation strategies and/or a role player suffering from a mental health
                          emergency.

               i. MIST 2018: Practical De-escalation Strategies

               j. MIST 2018: Use of Force Stress Response Training

                       i. 2 hours of scenario-based training that involves the use of de-
                          escalation strategies and/or a role player suffering from a mental health
                          emergency.

               k. MIST 2019: Use of Force Response Training

                       i. 2 hours of scenario-based training that involves the use of de-
                          escalation strategies and/or a role player suffering from a mental health
                          emergency.

See Selverian Decl., Ex. 16, at ¶ 7.

       52.     Based on an analysis of PSP use of force incidents, use of force training

curriculums were revised in the last few years to include additional hours of training in

communications and de-escalation strategies, deployment of conducted energy weapons,

response to mental health emergencies, and critical thinking and use of force decision making.

See Selverian Decl., Ex. 16, at ¶ 10.
